1 F.3d 1253NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    John I. MIRASOL, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7059.
    United States Court of Appeals, Federal Circuit.
    June 30, 1993.
    
      Before LOURIE, Circuit Judge, BENNETT, Senior Circuit Judge, and CLEVENGER, Circuit Judge.
      ON MOTION
      ORDER
      CLEVENGER, Circuit Judge.
    
    
      1
      The Secretary of Veterans Affairs moves to waive the requirements of Fed.Cir.R. 27(d) and to dismiss John I. Mirasol's appeal for lack of jurisdiction.  Mirasol has not filed a response.
    
    
      2
      John Mirasol seeks review of a decision of the United States Court of Veterans Appeals summarily affirming the Board of Veterans Appeals' decision that (1) denied the request of John Mirasol's father, deceased veteran Paulino M. Mirasol, to reopen his claim of service connection for pulmonary tuberculosis and a kidney disorder and (2) denied Paulino Mirasol's claim of service connection for various other medical disorders.
    
    
      3
      John Mirasol challenges only factual determinations or the application of a law or regulation to the claim, or raises a legal question that does not contest the validity of a statute or regulation, or the interpretation of a constitutional or statutory provision or a regulation.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).*
    
    
      4
      Accordingly,
    
    IT IS ORDERED THAT:
    
      5
      (1) The Secretary's motion to waive the requirements of Fed.Cir.R. 27(d) is granted.
    
    
      6
      (2) The Secretary's motion to dismiss is granted.
    
    
      7
      (3) Each side shall bear its own costs.
    
    
      
        *
         The Secretary also argues that John Mirasol lacks standing to pursue the appeal of his father.  Because we dismiss John Mirasol's appeal on an alternative jurisdictional ground, we need not address the issue of standing
      
    
    